       Case 3:23-cv-21174-ZNQ-TJB Document 24 Filed 11/29/23 Page 1 of 2 PageID: 313
       Ltr to Pltf re




                                                     State of New Jersey
PHILIP D. MURPHY                                  OFFICE OF THE ATTORNEY GENERAL                                     MATTHEW J. PLATKIN
    Governor                                    DEPARTMENT OF LAW AND PUBLIC SAFETY                                    Attorney General
                                                          DIVISION OF LAW
TAHESHA L. WAY                                              25 MARKET STREET                                         MICHAEL T.G. LONG
   Lt. Governor                                                 P.O. Box 112                                               Director
                                                         TRENTON, NJ 08625-0112




                                                        November 27, 2023

          Via the CM/ECF system
          Hon. Zahid N. Quraishi, U.S.D.J.
          United States District Court for the District of New Jersey
          402 East State Street
          Trenton, New Jersey 08608

                        Re: Logan v. Lamont, et al.
                            Civil Action No. 3:23-cv-21174-ZNQ-TJB

          Dear Judge Quraishi:
                 I represent Defendants, Governor Phil Murphy; Lt. Governor Tahesha Way;
          former Commissioner of the New Jersey Department of Health (“DOH”), Judith
          Persichilli; Sejal Hathi; and New Jersey Attorney General Matthew Platkin
          (collectively, “New Jersey State Defendants”), in the above-referenced matter. I
          write to request that all New Jersey State Defendants be permitted to answer,
          move or otherwise respond to Plaintiff’s amended complaint on or before
          December 20, 2023.

                Plaintiff’s original complaint was filed on October 13, 2023, and, upon
          information and belief, prior to effecting service on any defendants, she filed an
          amended complaint on October 23, 2023, which averred claims against New Jersey
          State Defendants and several other out-of-state defendants. (D.E. #1, #6).
          According to Plaintiff’s Affidavit of Service, service on certain New Jersey State
          Defendants purportedly occurred on October 23, 2023 and October 26, 2023 “via
          email.” (D.E. #16). Even so, Plaintiff served former DOH Commissioner, Judith



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  Persichilli on November 15, 2023, and after obtaining the clerk’s automatic
  extension, the date for former Commissioner Persichilli to answer, move or
  otherwise respond is currently on December 20, 2023. (See Clerk’s Text Order on
  November 20, 2023).

        To avoid having New Jersey State Defendants respond to the amended
  complaint on different dates, and to permit them to have additional time to assess
  and meaningfully answer it, they request a joint response date coinciding with
  former Commissioner Persichilli’s deadline to respond, which, once again, is
  December 20, 2023.

         I thank Your Honor for your kind consideration of this request.

                                              Respectfully submitted,
It is on this 28th day of November, 2023
SO ORDERED.                                   MATTHEW J. PLATKIN
                                              ATTORNEY GENERAL OF NEW JERSEY
s/Tonianne J. Bongiovanni
Hon. Tonianne J. Bongiovanni               By: __________________________
                                               Michael R. Sarno
                                               Deputy Attorney General

  cc: All counsel via the CM/ECF system
      Mary B. Logan, Plaintiff pro se (via the CM/ECF system and regular mail)
